
Upon consideration of the petition filed by Defendant on the 27th of March 2019 in this matter for a writ of certiorari to review the order of the District and Superior Court, Wake County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 18th of April 2019."
The following order has been entered on the motion filed on the 27th of March 2019 by Defendant to Arrest the District Court Criminal Judgment:
"Motion Denied by order of the Court in conference, this the 18th of April 2019."
Upon consideration of the petition filed by Defendant on the 28th of March 2019 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 18th of April 2019."
The following order has been entered on the motion filed on the 10th of April 2019 by Defendant for Leave of Court to Consider Defendant's Reply:
"Motion Dismissed as moot by order of the Court in conference, this the 18th of April 2019."
The following order has been entered on the motion filed on the 10th of April 2019 by Defendant for Leave of Court to Consider Defendant's Reply:
"Motion Dismissed as moot by order of the Court in conference, this the 18th of April 2019."
The following order has been entered on the motion filed on the 15th of April 2019 by Defendant to Withdraw Mandamus Petition:
"Motion Dismissed as moot by order of the Court in conference, this the 18th of April 2019."
